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:N THE UNITED sTATEs DISTRICT COURT F“'ED 7
FOR THE wESTERN DISTRICT oF TENNESSEE 92 21

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Plaintiff,
VS' NO. 05-2226-MaP

JO ANNE B. BAR_NHART,
Commissioner of Social Security,

Defendant.

 

ORDER GRANTING MOTION FOR REMAND

 

Before the court is defendant's June lO, 2005, unopposed
motion for remand of this case to the Commissioner pursuant to
sentence six of 42 U.S.C. §405(g) of the Social Security Act,
because additional evidence was submitted to the Hearing Office
but was not included in the record or identified on the List of
Exhibits.

For good cause shown, the motion is granted and the case is
remanded to the Commissioner. Upon receipt of the court's order,
the Appeals Council will remand the case to an administrative law
judge to include the additional evidence in the record, to re-
evaluate the case in light of the additional evidence in the

record, and to issue a new decision. Upon completion of the

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additional administrative proceedings, this case will be returned
to this court for judicial review.

It is so ORDERED this lul¢\day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

UNITSED`ATES DISTRICT C URT - WESTENRDT"ISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
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Honorable Samuel Mays
US DISTRICT COURT

